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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                Eastern District
                                              __________ Districtofof
                                                                   Louisiana
                                                                      __________

                  United States of America                      )
                             v.                                 )
                                                                )      Case No.
                                                                )                 23-mj-25
                JONATH WILLIAMSON, JR.                          )
                                                                )
                                                                )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   03/16/2023                in the county
                                                                              parish of               Orleans           in the
      Eastern          District of        Louisiana         , the defendant(s) violated:

            Code Section                                                  Offense Description
18 U.S.C. § 922(g)(1)                        Possession of a firearm by a felon
18 U.S.C. § 922(k)                           Possession of a firearm with an obliterated serial number
21 U.S.C. § 841(a)(1)                        Possession with intent to distribute methamphetamine and fentanyl




         This criminal complaint is based on these facts:
See attached Affidavit




         ✔ Continued on the attached sheet.
         u

                                                                                            /s/ Matt Strickland
                                                                                           Complainant’s signature

                                                                                  Matt Strickland, Special Agent, FBI
                                                                                            Printed name and title

Sworn to before me and signed in my presence.


Date:              3/17/23
                 2/15/05                                                                      Judge’s signature

City and state:                   New Orleans, Louisiana                     Hon. Karen Wells Roby, U.S. Magistrate Judge
                                                                                            Printed name and title
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

  UNITED STATES OF AMERICA                        *       CASE NO. 23-mj-25

  v.                                              *       SECTION: MAG

  JONATH WILLIAMSON, JR.                          *

                                            *     *       *

   AFFIDAVIT IN SUPPORT OF APPLICATION FOR CRIMINAL COMPLAINT

       I, Matthew Strickland, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”). I am

currently assigned to the New Orleans Violent Crime Task Force (“Task Force”). In that role my

primary duties involve investigating fugitive matters, armed robberies, extortions, gang activity,

violent offenses, and drug trafficking. I started my law enforcement career as a patrolman in

Hattiesburg, Mississippi from 2016 to 2019. In that position, I effectuated hundreds of arrests and

conducted a variety of investigations. I accepted a position with the FBI in October of 2019 and

attended five months of Special Agent training in Quantico, Virginia. Since then, I have been

assigned to the New Orleans Field Office.

       2.      The information contained in this Affidavit is based on my personal knowledge as

well as information provided to me by other agents and witnesses. The facts set forth in this

affidavit have either been observed directly by me or relayed to me by assisting agents and

witnesses. This affidavit is intended to show merely that there is sufficient probable cause for the

requested warrant and does not set forth all my knowledge about this matter.

       3.      Williamson is the subject of an on-going federal investigation into the following

offenses:
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       •       Possession of a firearm by a felon, a violation of 18 U.S.C. § 922(g)(1)

       •       Possession of a firearm with an obliterated serial number, a violation of 18

       U.S.C. 922(k)

       •       Possession with intent to distribute methamphetamine and fentanyl, a

       violation of 21 U.S.C. § 841(a)(1)

                                    CASE BACKGROUND

       4.      In September 2022, in response to a call about a suspicious person, Williamson was

found by New Orleans Police Department (NOPD) officers sleeping behind Livingston Collegiate

Academies in a stolen Off-Road Dune Buggy with an AR style BB gun. Before Williamson could

be arrested for possession of stolen property and trespassing, he claimed to have ingested narcotics

and was transported by EMS to a nearby hospital. A warrant issued for his arrest for possession of

stolen property under NOPD Item I-09365-22.

       5.      In November 2022, two New Orleans schools (Ben Franklin and Langston Hughes)

were the victims of theft resulting in the loss of two golf carts, a utility trailer, and a pressure

washer. The combined value of the items totaled approximately $9500. These thefts were

documented under NOPD items K-26460-22 and K-27420-22. Through surveillance video which

captured the thefts and a Crimestoppers tip, NOPD detectives identified, Jonath Williamson, B/M,

DOB: 5/4/84, as a suspect.

       6.      Based on the above information, NOPD detectives authored and acquired arrest

warrants for Williamson for thefts of the schools’ property. On Wednesday, March 1, 2023,

surveillance of Williamson’s residence, 4838 Camelia St., New Orleans, LA 70126, was conducted

and provided additional details regarding the theft investigations. Two golf carts could be seen in

the grassy alley area behind the residence. Further, the utility task vehicle (UTV) observed in the


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surveillance footage capturing the golf cart thefts was also parked behind the residence. A black

Dodge Ram 2500 with no license plate was parked in the grassy alley area among several other

motorcycles and utility vehicles. Williamson was sitting underneath the carport area of the

residence near the vehicles at that time.

       7.      Surveillance of the residence was conducted on March 3, 2023, with the black

Dodge Ram 2500 again parked near the grassy alley area. During surveillance of the residence on

March 6, 2023, the black Dodge Ram 2500 was parked in the grassy alley area behind the

residence, this time in a different location. On March 14, 2023, a check of the residence revealed

that the black Dodge Ram 2500 was parked in front of the house with the lights illuminated. On

March 16, 2023, a check of the residence revealed Williamson near the driver’s side of the black

Dodge Ram 2500 speaking with an unknown white male. The observation of other stolen vehicles

at the residence coupled with the lack of the license plate on the Dodge Ram, led to the belief that

the Ram might also be stolen.

       8.      Based on the visible evidence of the thefts around Williamson’s residence, and his

prior identification as a suspect for the named thefts, a state search warrant was authored and

acquired for his residence under NOPD item K-27420-22.

                                    SEARCH AND ARREST

       9.      On March 16, 2023, at approximately 12:30pm, Members of the NOPD Special

Response Team (SRT), NOPD Violent Crime Abatement Investigative Team (VCAIT), and FBI

New Orleans Violent Crime Task Force (NOVCTF) executed the search warrant at 4838 Camelia

St., New Orleans, LA 70126. At the time of its execution, Jonath Williamson was taken into

custody pursuant to his outstanding NOPD warrants. The details of the search and arrest are as

follows:



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       10.     While SRT was making their approach to the front of 4838 Camelia St., perimeter

units comprised of VCAIT and NOVCTF members made contact with several individuals at the

rear of the residence, including Jonath Williamson. All individuals were detained without incident

except for Williamson, who attempted to flee. Williamson jumped from his backyard, which was

on a slightly raised embankment, into the grassy alley area just behind his residence. He ran

approximately 25 yards before getting tripping and falling. Agents and TFO’s were then able to

take him into custody.

       11.     A search of Williamson’s person was conducted incident to his arrest, revealing

distributable amounts of drugs in a larger plastic bag containing approximately six smaller bags in

his front pocket. The smaller bags contained a variety of substances ranging from gray powders to

crystal-like shards. Later testing revealed these to be methamphetamine totaling 5.7 grams and

fentanyl totaling 38.6 grams. In addition to the narcotics, approximately $2900 in cash in multiple

small denominations was found in Williamson’s other front pocket. Other items found on

Williamson’s person included a black Apple iPhone, a wallet containing various credit/debit cards

and receipts, a small red pocket knife, a syringe with tourniquet and small metal container with a

greenish residue inside, a small amount of suspected marijuana wrapped in a receipt, and two

keychains containing multiple keys and key fobs.




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       12.    While on scene and for officer safety, Agents and TFO’s attempted to determine

whether anyone was inside the black Dodge Ram 2500, which was parked in the grassy alley area

behind Williamson’s residence where officers were processing the scene. The vehicle was a large

truck with dark tinted windows. Due to the height of the vehicle and the tint, Agents and TFO’s

were not able to visually clear the vehicle by looking through the windows. An initial attempt to

open the doors of the vehicle was unsuccessful as it was locked. At that time Agent Strickland

retrieved the keys found on Williamson’s person and located a key fob to the black Dodge Ram

2500. Agent Strickland unlocked the vehicle and cleared it to determine that no other persons or

dangers were inside the vehicle. Upon opening the driver’s side door, affiant saw two firearms in

plain view lying on the driver’s seat. Further review of the firearms revealed a Palmetto State

Armory PA-15 – an AR-style pistol – with an obliterated serial number and a Smith and Wesson

.40 caliber bearing serial number NCE0518.




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       13.    Further observation of the Dodge Ram revealed the words “Tootie Hustler” and

“Drug Money Racing” written on the tailgate. This was notable to agents as Williamson goes by

the name “Tootie.”




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       14.    Noting that there was no license plate displayed on the rear of the vehicle, Agent

Strickland located the VIN number on the opened driver’s side door panel and conducted an NCIC

check to determine the status of the vehicle. The FBI Operations Center relayed that the black

Dodge Ram 2500 was stolen and flagged by NOPD Homicide as a vehicle of interest. After

consultation with NOPD Homicide, it was learned that the vehicle belonged to the victim of a

homicide. The homicide victim’s body was discovered February 192, 2023, in a drainage canal.

Homicide investigators found that the victim’s body was dropped into the canal from a vehicle. It

was also learned that the victim’s 2022 Black Dodge Ram 2500 was missing from his residence,

last seen on February 18, 2022. Because of its involvement in the homicide investigation the

vehicle was towed back to the FBI New Orleans Field Office awaiting execution of an additional

search warrant.

       15.    While recovering the stolen black Dodge Ram 2500 for tow, Jonath Williamson

began acting lethargic and seemingly light-headed. EMS was requested to the scene. While

awaiting EMS, Williamson was given water and placed in the front seat of an FBI vehicle so that

he could have access to air conditioning. EMS arrived and advised that Williamson stated he

swallowed heroin. Williamson was then transported by EMS to University Medical Center (UMC)

and admitted for monitoring based on his claim that he had swallowed heroin. An NOPD Officer

followed the ambulance to UMC and maintained custody of Williamson while he was undergoing

treatment.

       16.    After Williamson’s transport the search warrant of the residence and curtilage was

executed. The search resulted in the recovery of the stolen black Dodge Ram 250, along with

additional stolen vehicles. The items found on Williamson’s person were transported to the FBI




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New Orleans Field Office by Agent Strickland and Agent Fretwell. They were secured at the field

office and logged into the evidence control facility the following morning.

         17.      Based on your affiant’s knowledge of Jonath Williamson’s criminal history, as

evident in his NCIC Criminal History, he is a convicted felon prohibited from possessing firearms.

Specifically, he pled guilty and was sentenced to 8 years for Possession with Intent to Distribute

Heroin in 2013 in case number 514-281 in Criminal District Court for the Parish of Orleans.

         18.      Based on the surveillance and evidence described herein, a vehicle being utilized

by Williamson, the stolen black Dodge Ram 2500, was found to have two firearms in the driver’s

seat. During surveillance, Williamson was seen in and around the vehicle. When apprehended,

Williams had the keys to the vehicle on his person.

   19.         Probable cause exists to arrest Jonath Williamson for the following:

         •        Possession of a firearm by a felon, a violation of 18 U.S.C. § 922(g)(1)

         •        Possession of a firearm with an obliterated serial number, a violation of 18

         U.S.C. 922(k)

         •        Possession with intent to distribute methamphetamine and fentanyl, a

         violation of 21 U.S.C. § 841(a)(1)

                                                               /s/ Matt Strickland
                                                               Matt Strickland
                                                               Special Agent
                                                               Federal Bureau of Investigation




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Pursuant to Federal Rules of Criminal Procedure 4.1 and 41(d)(3), the undersigned judicial officer
has on this date considered the information communicated by reliable electronic means in
considering whether a complaint, warrant, or summons will issue. In doing so, I have placed the
affiant under oath, and the affiant has confirmed that the signatures on the complaint, warrant, or
summons and affidavit are those of the affiant, that the document received by me is a correct and
complete copy of the document submitted by the affiant, and that the information contained in the
complaint, warrant, or summons and affidavit is true and correct to the best of the affiant’s
knowledge.

Subscribed to and sworn before me,
this 17th day of March, 2023.
New Orleans, Louisiana.


______________________________________
HONORABLE KAREN WELLS ROBY
UNITED STATES MAGISTRATE JUDGE




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